Case 1:19-cv-00804-ELH Document 1-2 Filed 03/15/19 Page 1 of 22

Exhibit B -

 
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On behalf of person(s) agirieved whose: weeny is

1. CONFIDENTIAL (29 CFR (008 TO seu pin
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EEOC Charge No,

  

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_{410) 209.2728

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towing - detariinatons Based upon its Investigation, tte EEOC 1s unable: to contliide. that the
violations of ihe statutes. This dods tiat 6 Certify that the respondent is in complianes with
the statutes, ‘No finding ig.miade as to aay other issue's that ‘fight ‘be ‘construed as haviiig-been talsed by his charge.

Co} The EEOC ha adopted the fring ¢ et thie state ‘or toed ‘ae i eriptoyment ractibes agency t that invested this:  hatge.
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. Notice OF SUIT RIGHTS .
(See: the aiietfonel information attached to. this form.)

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Denise Green. Atark Milistein, Esq.
EEO Lead Officer - -MILLSTEIN LAW OFFICES
Maryland Transportation Authority 110 East Le igton Street, Suite 300
2310 Broéhing srghway - Baltimore, i MD 24202

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